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‘iN THE CIRCU|T COURT OF THE 17TH JUD|C!AL C!RCU!T IN AND FOR
BROWARD COUNTY, FLOREDA

LELA LEVY,
Case NO.' 11022173 18

F’[aintiff,
VS.

HOME DEPOT U.S.A., INC., a foreign
profit corporation,

Defendant.
/

 

PLA¥NTIFF’S RESPONSE TO FIRST REQUEST FOR AD!VHSS|ONS
CONEE NOVV the Pfa§ntiff, LILA LEVY, by and through her undersigned counsei,
and hereby flie(s) this, her Response to Defendant, HOl\/EE DEF’OT U.S.A., tNC., a

foreign profit c:orp<:)rationj Request for Adrnissions, dated Oc;tober 11, 2011, end

State(S):
‘I. Denied.
2. Adrnitted.
3. Denied.
4. Admitted.
5. Denied.
6. Denied.
7. Admitted.
8. Admitted.
9. Admitted.
fO. Adrnitted.

 

\§

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11 Adrnitted_
12. Not applicable

13. Not applicabie.

14. Adnnitted.
15. Denied_

16. Admitted.
17. Admitted_

l l-!EREBY CERTIFY that a true and correct copy of the foregoing has been Sent
by U.S. I\/laii this &tfay of Novernber, 2011, to: Jack Luks, Esquire, LUKS

SANTAN!EL!_O PEREZ PETRFLLO & GOLD, 110 S.E. Bth Street, 20th F[OO!”,,»»Fort

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yDAV!D NiG|-iT

Baer//< m:ber 38 62

Schwed Knight ./-\.

7108 Fainivay rive, Suite 150

Pa!rn Beach G rdens, F|orida 33418
Tetephone: (561) 694-6079
Facsimiie.' (561) 694-6089

Lauderdale, FL 33301.

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ll\l THE C|RCU|T COURT OF THE
SE\/ENTEENTH jUD|ClAl_ CIRCUIT
ll\l AND FOR BROWARD COUNTY,

FLOR|DA
L|LA LE\/Y, CASE NO.: il {)22173 CA 18
Plamrirrrs),
vs.
i-lOl\/lE DEPOT U.S_A, lNC.,
Defendant(s}.
/l

 

DEFENDANT’S FIRST REQUEST FOR ADMISSSONS TO PLAINTIFF

Defendant, HOME DEPOT U.S.A, ll\lC., pursuant to Florida Rule of C§vi| Procedure

1.370, requests that P|alntiff admit or deny the following enumerated requests for
admissions vvithln thirty (30) days after service hereof
lNSfRUCTlONS

'i. P|aintiff shall specifically admit or deny the matter addressed in each

Request. in accordance vvith the Fl_ORlDA RULES OF Cl\/ll_ PROCEDURE, A denial shall

fairly meet the substance of the requested admission, and vvhen good faith requires that a

party qualify his answer or deny only a part of the matter of vvhich an admission is

requested, he shall specify so much of it as is true and qualify or deny the remainder. For

exampie, if a Request asks you to admit that an act never occurred and to your knowledge

it did not occur but could have occurred Without your knowledge then your answer must

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specify that to your knowledge the act did not occur but it could have occurred without
your knowledge

2. You may not refuse to admit or deny merely based on lack of information or
lack of knowledge in accordance with the FLORIDA RULES OF Cl\/EL PROCEDURE, An
answering party may not give lack of information or knowledge as a reason for failure to
admit or deny unless he states that he has made reasonable inquiry and that the
information known or easily obtainable by him is insufficient to enable him to admit or
deny.

3. lf Pla§ntiff objects to a Request, then the response shall specify ali reasons for
the objection, as required by the FLOR|DA RULES OF C|\/il_ PROCEDURE.

4. E><cept as specif§cally defined in this document, definitions of words are to be
those used in Webster’s Unabridged Dictionary. Therefore, P|aintiff is not to avoid
denying or admitting a Request by pretending or claiming that she does not understand the
meaning of language in the l{equest.

5. f°laintiff is to respond to each Request based on facts known by and available

to her. An admission or denial is not to be grounded purely on speculationl

SPEC!AL DEFIN!T§ONS

As used in the Requests enumerated below, the following terms shall have the

special meanings indicated below:

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i. As used herein, the term “lncident in Question" refers to the a§leged incident
of February iB, 201 l, which according to Lll_A l_E\/Y'S Original Complaint, forms the basis
of their claims in this case.

2. As used herein, the term "damages" includes pain and suffering, loss of
pecuniary contributions (both past and future), mental anguish, expenses of medical care
received as a result of the incident made the basis of this lawsuit, lost wages lboth past &
future), exemplary damages, and any other expense that you claim as necessitated by, or
damage you claim to have sustained from, the alleged incident, and for which you seek

recovery

REQUEST FOR ADM|SS|ONS

 

Admit or deny the following:

t. in this iawsuit, Plaintiff is not seeking and will not seek total damages in

excess of $75,000.

2. in this |awsuit, Plaintiff is seeking to recover total damages in excess of
375,00().
3. The maximum amount of damages that Plaintiff seeks, and will ever seek, to

recover in this lawsuit is less than §75,(}00.

4. The maximum amount of damages that Pfaintiff seeks to recover in this

lawsuit is greater than $75,000.

5. in this lawsuit, Plaintiff stipulates that she will be asking the jury to award her

no more than a total of $75,000 in damages

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6. in this lawsuit, Plaintiff will be asking the jury to award her more than a total

of $75,000 in damages
7. Based on the severity of the injury suffered by Plaintiff, F‘laintiff will be

seeking to recover damages for the past pain and suffering of LlLA LE\/Y in an amount
greater than $t S,OOO.

8. Based on the severity of the injury suffered by Plaintiff, Plaintiff will be
seeking to recover damages for the future pain and suffering of i_lLA LE\/Y in an amount
greater than $15,000.

9. Based on the severity of the injury suffered by P|aintiff, Plaintiff will be
seeking to recover damages for the past mental anguish of LILA LEVY in an amount greater
than sis,ooo.

lO. Based on the severity of the injury suffered by Plaint§fff Plaintiff will be
seeking to recover damages for the future mental anguish of LlL/=\ LE\/Y in an amount
greater than 515,000.

lt. Based on the severity of the injury suffered by Plaintiff, Plaintiff will be
seeking to recover damages for future medical expenses of L|LA tE\/Y in an amount greater
than $35,000.

12. Based on the severity of the injury suffered by Plaintiff, Plaintiff will be

seeking to recover damages for lost wages of L|LA t_E\/Y in an amount greater than

s1 s,ooo.

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13. Based on the severity of the injury suffered by Piaintiff, Plaintiff will be
seeking to recover damages for loss of future earning capacity of LlLA LE\/Y in an amount
greater than $t 5,000.

14. The injury sustained by Piaintiff has caused her, on a daily basis, since the
accident, to experience constant pain in the part of the body that was injured.

15. The injury sustained by the Plaintiff has produced permanent disfigurement

16. Between the date of the accident and the present date, the injury sustained
by the Plaintiff has caused her to experience impairment that substantially iimits P|a§ntiff’s
ability in the performance of normal, everyday activities

17_ Plaintiff is a citizen domiciled in the State of Florida.

CERTIF|CATE OF SERV|CE
WE HEREBY CERT|FY that a true and correct copy of the foregoing has been

furnished via U.S. l\/tail, to all counsel of record on the attached Service tist, this liw day

of October, 2011.

LUKS, SANTANlELl_O,
PETR|LLC & jOl\lES

Attorneys for Defendant

110 S. E. oth Street - 20th Floor
Fort l_auderdale, fit 33301
Telephone: {954176t~9900
Facslmile: (954) 761-9940

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lack b. tui<s, Esouiru-i
Florida Bar No.: 651011
oale A. uPi<iN, EsQuiRE
Florlda Bar No.: 968463

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SERVFCE L|ST

COUNSEL FOR PLA|NTlFF

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